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STATE OF MAINE SUPERIOR COURT
CUMBERLAND, ss. . CIVIL ACTION |
DOCKET NO.: CV-19-4{34

LISA LENNAN, )
) PLAINTIFF’S COMPLAINT
Plaintiff, ) FOR WHISTLEBLOWER
) RETALIATION
)
Vv. )
)
)
HEALTHCARE SERVICE GROUP, INC)
)
Defendant. )

NOW COMES Plaintiff, Lisa Lennan (““Lennan” or “Plaintiff’), by and through his
attorney, the Law Office of Guy D. Loranger, and alleges the following:

PARTIES AND JURISDICTION

1. Plaintiff Lennan (“Lennan”) is a resident of Limington, Maine.

2. Defendant HealthCare Service Group, Inc (“Defendant” or “Healthcare Service”) at
relevant times, Defendant provided food service at the Springbrook Center in
Westbrook, Maine.

3. All the acts of which Plaintiff complains took place in Cumberland County, State of
Maine.

4. Plaintiff requests a jury trial.

FACTUAL ALLEGATIONS

5. Lennan began employment with Defendant in April 2017.
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Defendant contracted with Genesis Healthcare (“Genesis”) to provide food service at
Genesis’ elderly care facilities.

Lennan served as Defendant’s account executive at Genesis Healthcare’s Springbrook
Center in Westbrook, Maine.

On or about January 18, 2019 Lennan issued a document and counseling to an
employee 1 due to employee serving the incorrect food to the elderly patients in
violation of their care plans.

The failure of the employee to follow the care plan created a condition which posed a
risk to the health and safety of the elderly patients.

On or about January 29, 2019 Lennan had her staff review dietary requirements and
sign an acknowledgment agreeing to uphold the policy and procedures of the kitchen,
safety and sanitation. Lennan also noted that she would be making daily rounds to
ensure compliance.

On or about January 31, 2019 Lennan learned of Employee 1 having made a
complaint against her arising out of the incident on January 18", 2019. Lennan,
therefore, prepared a written response to the subject complaint and submitted it to her
District Manager.

On or about February 1*, 2019 Lennan issued a written warning to Employee 1 for
again violating acceptable practices regarding the storage of food for the elderly
residents.

The failure of the employee to follow the care plan created a condition which posed a
risk to the health and safety of the elderly patients.

On or about February 5%, 2019 an employee of Genesis who worked at Springbrook
as a CNA, sent an emai! complaining of the Employee 1 consistently making
mistakes handling the elderly resident’s food, and describing Employee | as
“disrespectful, angry behavior not acceptable in the workplace, especially healthcare-
and she cannot execute her job duties!”.

On or about February 8, 2019 Lennan forwarded the above email to her District
Manager.

Lennan’s report to her management qualified as protected activity under Sections A,

B and E of the Maine Whistleblowers Protection Act (“WPA”)
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On or about February 11, 2019 Lennan issued a written warming to Employee 1 for
having a temper tantrum after being instructed regarding the condition of the
refrigerators used to store the food for the elderly residents.

Genesis controlled the number of allowable hours Lennan had to staff the kitchen at
Springbrook. Lennan asked the Genesis Executive Director at Springbrook to
increase the number of hours to staff the kitchen. The request was refused.

On or about February 19, 2019 the Genesis Executive Director at Springbrook

_ requested that Lennan be removed for allegedly not running the kitchen in alignment

with Genesis’ mission and vision.

On or about February 22, 2019 Lennan issued a written warning to Employee 1 for
again violating company policies regarding the storage of the food for the elderly
residents.

On or about March 3, 2019 Lennan met with her District Manager and the Genesis
Executive Director at Springbrook. The two falsely accused Lennan of yelling and
swearing at employees in the kitchen to the extent that it could be heard in the front
office of the building. As a result, Lennan was suspended upon investigation of the
incident. Lennan adamantly denies any such behavior.

On or about March 5, 2019 Defendant terminated Lennan, claiming that it had
received employee concerns regarding her ability to function as service manager.
Lennan believes the performance allegation is pretext created to terminate her for
engaging in protected activity under the WPA.

Lennan has complied with all administrative requirements and has received a right to

sue letter from the MHRC.

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OR ENGAGING IN PROTECTED ACTIVITY UNDER THE MAINE

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WHISTLEBLOWER PROTECTION ACT
Plaintiff incorporate by reference the allegations in the above paragraphs.

The Maine Human Rights Act prohibits discharging an employee because of previous

actions that are protected under the Whistleblower Protection Act.
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27. Lennan as described above engaged in protected activity defined by the WPA.
28.  Lennan terminated Lenna in retaliation for her engaging in protected activity.
29.  Acausal link exists between the protected activity and the termination

30.  Lenna has suffered the damages set forth below.

WHEREFORE, Plaintiff respectfully requests that this Honorable Court (1) enter
judgment in favor of the Plaintiff and (2) award damages sufficiently large to compensate for
damages she has suffered as a result of Defendant’s conduct including, but not limited to,
damages for general and non-economic damages, economic damages, pre-judgment and post-
judgment interest, lost wages, punitive damages, injunctive relief, costs of this suit, including

reasonable attorney fees and costs, and such further relief the Court may deem proper.

Dated: October 31, 2019 (nlZ Lin rj
Guy D. Loranger, Es4., Bar No. 9294
Attorneys for Plaintiff

 

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